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 6   Attorneys for Plaintiff ROBERT ROSS
 7
 8
                        UNITED STATES DISTRICT COURT
 9
                      NORTHERN DISTRICT OF CALIFORNIA
10
                                   OAKLAND DIVISION
11
12
13   ROBERT ROSS, an individual,             Case No. 4:19-cv-06669 (JST)
14                    Plaintiff,
15   vs.                                     NOTICE OF SUBSTITUTION OF
                                             COUNSEL AND NOTICE OF
16   AT&T MOBILITY, LLC,                     APPPEARANCE
17
                     Defendant
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        Case 4:19-cv-06669-JST Document 34 Filed 05/07/20 Page 2 of 3



 1         PLEASE TAKE NOTICE that plaintiff hereby requests substitution of the
 2   following counsel:
 3
 4         John M. Pierce
           Andrew M. Calderon
 5         PIERCE BAINBRIDGE BECK PRICE & HECHT LLP
 6         355 S. Grand Ave, 44th Floor
           Los Angeles, CA 90071
 7         (213) 262-9333
 8
 9         In their place, plaintiff designates the following as counsel of record:
10
11         Christopher Grivakes
           Damion Robinson
12         AFFELD GRIVAKES LLP
13         2049 Century Park East, Ste. 2460
           Los Angeles, CA 90067
14         (310) 979-8700
15
16         This constitutes the Notice of Appearance by Christopher Grivakes and
17   Damion Robinson to appear as counsel of record for the plaintiff in the above-
18   entitled action.
19
20   DATED: May 7, 2020                       AFFELD GRIVAKES LLP
21
                                       By:    Christopher Grivakes
22                                            _______________________________
23                                            Christopher Grivakes
                                              Damion Robinson
24
                                              Attorneys for plaintiff ROBERT ROSS
25
26
27
28
                                                -1-
                          Notice of Substitution of Counsel and Appearance
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                            PROOF OF SERVICE
     I hereby certify that on 5/7/2020, I electronically filed the foregoing
document using the Court’s CM/ECF system. I am informed and believe that the
CM/ECF system will send a notice of electronic filing to the interested parties.
                                            s/ Gabrielle Bruckner
                                            Gabrielle Bruckner
